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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                    CRIMINAL NO. 12-118 (JRT/LIB)

UNITED STATES OF AMERICA,                )
                                         )
               Plaintiff,                )         NOTICE OF ADDING AN
                                         )         ATTORNEY IN A
          v.                             )         CRIMINAL CASE
                                         )
JESUS GUADALUPE HERRERA MACHACA, ET AL., )
                                         )
               Defendants.               )

     The following criminal case is adding an Assistant United

States Attorney as follows:

     Criminal No.

     12-118 (JRT/LIB)

     Defendant Name

     Jesus Guadalupe Herrera Machaca, et al.

     Add AUSA

     Julie E. Allyn


Dated: June 26, 2012

                                       B. TODD JONES
                                       United States Attorney

                                       s/ Julie E. Allyn

                                       BY: JULIE E. ALLYN
                                       Assistant U.S. Attorney
                                       Attorney ID No. 256511
